            Case 1:21-cr-00507-PLF Document 38 Filed 01/30/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :       Case No. 21-CR-507 (PLF)
                                               :
                                               :
STEPHANIE MARYLOU BAEZ                         :
                                               :
       Defendant.                              :

                                    JOINT STATUS REPORT

       The United States of America, through counsel, and defendant Stephanie Marylou Baez,

through counsel, hereby submit their January 30, 2023, Joint Status Report pursuant to the Court’s

December 13, 2022, Minute Order and state as follows:

   1. The defendant in this case is charged by a four-count Information with violations of

18 U.S.C. § 1752(a)(1) (Entering and Remaining in a Restricted Building); 18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a Restricted Building); 40 U.S.C. § 5104(e)(2)(D) (Violent

Entry and Disorderly Conduct in a Capitol Building); and 40 U.S.C. § 5104(e)(2)(G) (Parading,

Demonstrating, or Picketing in a Capitol Building).

   2. The government has provided defendant discovery. The government has also provided

defense counsel with access to a tour of the crime scene, directed by the United States Capitol

Police. Defense counsel has received the discovery and continues to review it personally and with

their client. At present, there are no discovery disputes or other issues that require the intervention

of the Court.

   3. The parties remain engaged in their respective pretrial preparations. The trial is currently

set to commence Monday, May 8, 2023, at 10:00 a.m. ECF No. 36, p. 6. The pretrial motions
            Case 1:21-cr-00507-PLF Document 38 Filed 01/30/23 Page 2 of 2




hearing date, previously set for December 1, 2022, was vacated, and a new date is currently

pending.

      4. Pursuant to the December 13 Minute Order, the government 1 proposes the following three

dates in March 2023 for the pretrial motions hearing on the defendant’s two motions to dismiss:

             •   Friday, March 3, 2023, at 1:30 p.m.
             •   Tuesday, March 7, 2023, at 10:00 a.m.
             •   Thursday, March 9, 2023, at 1:30 p.m.

         Respectfully submitted,


         MATTHEW M. GRAVES                                            /s/
         United States Attorney                               JOHN M. PIERCE
         DC Bar No. 481052                                    John Pierce Law, P.C.
                                                              21550 Oxnard Street
                                                              Suite 3rd Floor OMB #172
By:                                                           Woodland Hills, CA 91367
         SEAN P. MURPHY                                       213-400-0725
         Assistant United States Attorney                     jpierce@johnpiercelaw.com
         Detailee, Capitol Siege Section
         D.C. Bar No. 1187821
         Torre Chardon, Ste 1201
         350 Carlos Chardon Ave
         San Juan, PR 00918
         787-766-5656
         sean.murphy@usdoj.gov

                  /s/
         SONIA MITTAL
         Assistant United States Attorney
         Illinois Bar No. 6314706
         601 D Street NW
         Washington, DC 20001
         202-821-9470
         sonia.mittal@usdoj.gov




1
  At the time of this filing (10:00 p.m. (AST)), the government is pending a response from Mr. Pierce’s associate,
Roger Roots, as to his availability on the proposed dates. Mr. Roots is currently on one of the defense teams in the
ongoing Proud Boys trial before Judge Kelly (21-CR-175 (TJK)). If Mr. Roots is unavailable on the proposed dates,
the parties will file a supplemental notice of availability at the earliest possible time.


                                                    Page 2 of 2
